

Matter of 87th St. Sherry Assoc., LLC v New York State Div. of Hous. &amp; Community Renewal (2024 NY Slip Op 06381)





Matter of 87th St. Sherry Assoc., LLC v New York State Div. of Hous. &amp; Community Renewal


2024 NY Slip Op 06381


Decided on December 19, 2024


Court of Appeals



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 19, 2024

No. 115 

[*1]In the Matter of 87th Street Sherry Associates, LLC, Appellant,
vNew York State Division of Housing and Community Renewal, Respondent. (Index No. 153999/20)


Jillian N. Bittner, for appellant.
Matthew W. Grieco, for respondent.
New York Apartment Association, Inc., amicus curiae.


Order insofar as appealed from affirmed, with costs (see Matter of 160 East 84th Street Associates LLC v New York State Division of Housing and Community Renewal , ___NY3d ___ [Case No. 111 decided today]). Chief Judge Wilson and Judges Rivera, Garcia, Singas, Cannataro, Troutman and Halligan concur.
Decided December 19, 2024









